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            EXHIBIT A
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Chicago Consumer Law Center, P.C.
111 West Washington Street
Suite 1360
Chicago, IL 60602
                                                                      Phone: (312) 858-3240
                                                             Email: rob.harrer@cclc-law.com



     Midland Funding
     Fax: 877-201-8692


      Re:   Our Client: Myrna Hernandez
            Account Number: #
            Alleged Balance: $ 7,178

     Sent via Fax on Wednesday, May 1, 2019

     To Whom it May Concern:

     This letter concerns our above referenced client, who is represented by our office with
     respect to communications regarding any and all debts you seek to collect, now or in the
     future, until notified otherwise by our office.

     As legal representative for this client in regards to communications, all communication
     must be through our office, so please do not contact them directly. Our client also hereby
     revokes any prior express consent that may have been given to receive telephone calls,
     especially to Client’s cellular telephones, from an Automated Telephone Dialing System,
     or a pre-recorded voice, as outlined in the Telephone Consumer Protection Act, 47 U.S.C.
     § 227 et seq.

     Our client has stated that they do not believe that the amount that you are attempting to
     collect is accurate. However, we will pass any settlement demands on to them.

     If you have any questions or need assistance in locating our client’s file, please do not
     hesitate to contact us.

     Sincerely,

     s/ Robert Harrer

     CHICAGO CONSUMER LAW CENTER, P.C.
     111 W. Washington St., Suite 1360
     Chicago, IL 60602
     Tel: 312-858-3240 | Fax: 312-610-5646
     Email: rob.harrer@cclc-law.com
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            EXHIBIT B
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CREDIT REPORT


MYRNA HERNANDEZ

Report Confirmation
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5. Other Accounts
Other accounts are those that are not already identified as Revolving, Mortgage or Installment Accounts such as child support
obligations or rental agreements.


5.1 MIDLAND FUNDING LLC (CLOSED)

Summary

Your debt-to-credit ratio represents the amount of credit you're using and generally makes up a percentage of your credit score. It's
calculated by dividing an account's reported balance by its credit limit.

Account Number                                                           Reported Balance                                          $7,178

Account Status                                     COLLECTION            Debt-to-Credit Ratio                                           99%

Available Credit



Account History

The tables below show up to 2 years of the monthly balance, available credit, scheduled payment, date of last payment, high credit,
credit limit, amount past due, activity designator, and comments.

Balance

Year     Jan         Feb       Mar        Apr        May        Jun        Jul        Aug        Sep        Oct        Nov        Dec

2017

2018

2019


Available Credit

Year     Jan         Feb       Mar        Apr        May        Jun        Jul        Aug        Sep        Oct        Nov        Dec

2017

2018

2019


Scheduled Payment

Year     Jan         Feb       Mar        Apr        May        Jun        Jul        Aug        Sep        Oct        Nov        Dec

2017

2018




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2019


Actual Payment

Year     Jan        Feb       Mar        Apr        May       Jun       Jul      Aug       Sep   Oct   Nov       Dec

2017

2018

2019


High Credit

Year     Jan        Feb       Mar        Apr        May       Jun       Jul      Aug       Sep   Oct   Nov       Dec

2017

2018

2019


Credit Limit

Year     Jan        Feb       Mar        Apr        May       Jun       Jul      Aug       Sep   Oct   Nov       Dec

2017

2018

2019


Amount Past Due

Year     Jan        Feb       Mar        Apr        May       Jun       Jul      Aug       Sep   Oct   Nov       Dec

2017

2018

2019


Activity Designator

Year     Jan        Feb        Mar        Apr       May       Jun       Jul          Aug   Sep   Oct   Nov        Dec

2017

2018

2019



Payment History

You currently do not have any Payment History in your file.




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Account Details

View detailed information about this account. Contact the creditor or lender if you have any questions about it.

High Credit                                               $7,215         Owner                                     INDIVIDUAL

Credit Limit                                                             Account Type                                   OTHER

Terms Frequency                                      UNKNOWN             Term Duration                                        0

Balance                                                   $7,178         Date Opened                               May 30, 2017

Amount Past Due                                           $7,178         Date Reported                              Jul 11, 2019

Actual Payment Amount                                                    Date of Last Payment

Date of Last Activity                                                    Scheduled Payment Amount

Months Reviewed                                               21         Delinquency First Reported                Oct 01, 2017

Activity Designator                                                      Creditor Classification                        RETAIL

Deferred Payment Start Date                                              Charge Off Amount

Balloon Payment Date                                                     Balloon Payment Amount

Loan Type                                     Debt Buyer Account         Date Closed

Date of First Delinquency                           Oct 01, 2016

Comments                                                                           Contact

Collection account                                                                 MIDLAND FUNDING LLC
                                                                                   2365 NORTHSIDE DRIVE
                                                                                   SUITE 300
                                                                                   SAN DIEGO, CA 92108
                                                                                   1-844-236-1959




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